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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

STARLINE MEDIA, INC. and DAVID
NDALAMBA,

                  Plaintiffs,

v.                                          Case No. 6:20-cv-1210-GAP-GJK

JOMY STERLING,

                  Defendant.

 US DISTRICT Gregory A. Presnell                  COURTROOM:       5A
 JUDGE:
 DEPUTY      Anita Chenevert                      COUNSEL FOR George R. Coe
 CLERK:                                           PLAINTIFF:  Robert Rubin

 COURT           Nikki Peters                     COUNSEL FOR Shaun P. Keough
 REPORTER        courttranscripts@outlook.com     DEFENDANT: Thomas H. Stanton
 DATE            March 31, 2022
 TIME:           10:30 A.M. -11:15 A.M.

 TOTAL TIME:     45 minutes

           CLERK’S MINUTES – Supplemental final pretrial conference

Court provides counsel with the propose jury questionnaires that will be provided the
morning of trial and Court’s Proposed Instructions (version 1).

Court and counsel confer regarding schedule and issues of trial.

Court will enter an order bifurcating the defamation counterclaim with the expectation
that it will be tried in front of the same jury.

If counsel for Plaintiffs believe statutory damages apply the Court directs counsel to file a
legal brief by 5 p.m. on April 1, 2022.
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On Monday, April 4, 2022, Counsel for Plaintiff shall notify the court and opposing
counsel what choice of damages they intend to pursue.

Court will admit (at the outset of trial) all plaintiffs’ exhibits not objected to (4, 5, 7, 8, 10,
12, *17, 18, 23-35) unless Plaintiffs intend to withdraw any of the exhibits. Counsel may
use those exhibits during opening statements.

Court discusses Mr. Trice.

Counsel inquires to the Court as to how to deal with highly confidential documents that
may come in during the trial. If the Court agrees they would filed under seal and jury
advised they cannot disclose the documents beyond using to reach a verdict.



*Counsel for defendant was given opportunity to brief the court on this exhibit and failed to do so and thereby waived
objection.




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